Case 1:16-cv-22357-KMW Document 18 Entered on FLSD Docket 01/30/2017 Page 1 of 3


                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: I6-22357-CIV-KMW

   AMAURY CASTRO ARANGUREN, and all
   others similarly situated under 29 U.S.C.
   216(b),

                      Plaintiffs,
           vs.



   TOP GUARD PROFESSIONALS. INC
   YOLANDA GARCIA and
   ANTONIO RUIZ RODRIGUEZ, SR.,

                    Defendants.



                    AFFIDAVIT OF COMPLIANCE AS TO ALL DEFENDANTS

           I, Rivkah Jaff, Esq., an attorney of J.H. Zidell, P.A., counsel for Plaintiff, being sworn,

   certify that the following information is true:

       1. As indicated on by the Affidavits [DEI I-I and 13-1] of the process servers utilized by

   Plaintiffand the Affidavit of Diligent Search and Inquiryas to All Defendants [DEI4-1], addresses

   on public record and with the Florida Department of State Division of Corporations' Sunbiz

   database were attempted as well as those addresses listed in said Affidavits in Plaintiffs efforts to

   execute service upon the Defendants. Plaintiffs public record search was exhausted and there are

   no present, accurate addresses of record in which Plaintiff may attempt to execute service of process

   on the Defendants.


      2. As Plaintiff was unable to effectuate service of process by delivering the summons and the

   Complaint to Defendants via a process server, it was determined that the proper method of service

   in this action was to perfect substituted service upon the Secretary of State, pursuant to Fla. Stat.

   48.161(1) and Fla. Stat. 48.181(1).'

      3. On January 4, 2017, the Clerk issued a summons for Defendants to be served upon the



   ' Plaintiffs Motion for Extension ofTime to Serve Defendants via the Secretary ofState is
   pending. [DEI3].
Case 1:16-cv-22357-KMW Document 18 Entered on FLSD Docket 01/30/2017 Page 2 of 3


   Secretary of State. [DEI 7].

      4. On January 4, 2017, pursuant to Fla. Stat. 48.161(1), I mailed the process to the Secretary of

   State. Immediately following said mailing that same day, 1mailed notice of said service and a copy

   ofthe process to the Corporate Defendants' registered agent and the Individual Defendants via US

   registered mail. The Registered Mailing numbers were as follows:

                        (a) Defendant Top Guard Professionals, Inc. - 7013 0600 0002
                        1342 5321


                        (b) Defendant Yolanda Garcia - 7013 0600 0002 1342 5338

                        (c) Defendant Antonio Ruiz Rodriguez, Sr. - 7013 0600 0002 1342
                        5314


      5. As of January 30, 2017,1 have not received the return receipt of the registered mailing to

   Defendants. A reviev,- of the Uri<:ed States Postal Service Product and Tracking Information reflects

   that the letters were incJaimed/Max Hold Time Expired and that the items were returned to the

   sender (Plaintiffs Counsel) on January 27, 2017. See attached Exhibit "A".

   I understand that I am swearing or affirming under oath to the truthfulness of the claims
   made in this affiiar it ar d that tbe punishment for knowingly making a false statement
   includes fines and/or imprisonment.


   Dated this^ day ofJanuary. 2017.



                                           Rivkali Jaff,
                                           J.H.ZuJell. P.,
                                           300 71^^ Street, Suite 605
                                           Miami Beach, Fl. 33141
                                           Tel: 305-865-6766
                                           Fax; 305-865-7167


   STATE OF                                     __
   COUNTY OF


   Sworn to or affirmed and signed before me on this                    day of            ^ ^2017

                          HSMESKIN                           NOT^ pObLIC^              FC
                               .-020
      •n.0 BofJoeoTr.            Senices
                                      " s^^esKlN
                        *                          °'"   Commissioned Name
         Personaliv known
        Produced identification
   Type of identification produced:
Case 1:16-cv-22357-KMW Document 18 Entered on FLSD Docket 01/30/2017 Page 3 of 3
